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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UMAR GARVIN                                           :     CIVIL ACTION
                                                      :
     v.                                               :
                                                      :
KEVIN PALMER, et al.                                  :     NO. 10-1294

                                   SCHEDULING ORDER

     AND NOW, this 2nd day of May, 2012, following a preliminary pretrial conference, it is

ORDERED that:

     1.       All motions to amend the complaint and to join or add additional parties shall be

              filed within fourteen (14) days of the date of this Order.

     2.       Counsel are directed to contact Magistrate Judge L. Felipe Restrepo’s chambers on

              or before August 1, 2012, to schedule a settlement conference.

     3.       All fact discovery shall be completed by August 29, 2012.

     4.       All motions for summary judgment and Daubert motions shall be filed no later than

              December 12, 2012.

     5.       Responses to motions for summary judgment and Daubert motions, if any, shall be

              filed no later than January 18, 2013.

     6.       Upon this Court’s ruling on all motions, the parties should contact Chambers for a

              further scheduling order.

                                                            BY THE COURT:

                                                            /s/ Mitchell S. Goldberg

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                                                            MITCHELL S. GOLDBERG
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